CaS€ 8-18-77484-&8'[ DOC 8 Filed 11/13/18 Entered 11/13/18 16213:34

UNI'I`ED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re: CASE NO. 8-18-77484
Chapter 7
EUGENE G. TARVER, IK
and PAIGE M. TARVER,

oebior(s).

 

AFFIDAVIT PURSUANT TO LOCAL RULE 1009-l(u)

EUGiJEN G. TARVER, JR. and PAIGE M. TARVER, undersigned debtors herein, swear as
foiiows:

i. chtors filed a petition under Chaptcr 7 of the Bania'uptcy Code on November 6, 2018.
2. Fiied herewith is en amendment to Schedule I and J and Stetement of Affairs previously
filed herein.

3. Annexed hereto is a listing setting forth the specific addition to the affected list(s) or
scheduie(s). 'Ihe nawre of the addition is indicated for each creditor or item iisted.

Dated:Novernber i §,2018 §§ §

@§EENE G. TARVER, JR.

P§_/_\

PAI E M. TARVER

 

S rn to before me this
1 day ofNovember. 2018

, lmATHER PERRoTrA
mm Funuc, mrs oF Newm
hesitation m minimum
outlined in sum county

NOTARY PUBLIC ommission Expirq Nwmber law \

 

 

 

 

Remindcr.‘ iva amendrnem ofsch salaries tr effective until proof of service in accordance with EDNFLBR 1 609-1 (b)
has been filed wilk the Courr.

Ifthis amendment is filed prior to the expiration ofthe time period set forth in ch. R. Bankr. P. 4004 and 4007, it will be
deemed to constitute a motion for a SO-day extension of the time within which any added creditor may iile a complaintto
object to the discharge of the debtor and forte determine dischargeability This motionwiilbe deemed graan withouta
hearing ofno objection is Eled with the Cnnrt and served on debtor within 10 days fohowingiling of proof of service of
this affidavit all attachments and the amended schedules in accordance with EDNY LRB 1009-1.

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The following changes were made to Schedule I:

For Debtor 2
82. SO.L
12. $LM
ADDENDUM DELETED

The following changes were made to Schedule J:

233. $7,177.75
23b. $7,398.09
236. $-220.34

The following changes were made to Statement of Ai`fairs:
4_ Debtor 1

From Januaryl of current year Sources of Income Gross Income
until date you filed for bankruptcy

Wages,commissions, $80,896.00
Bonuses, tips

Debtor 2

Sources of Income Gross Income

Wagcs,commissions, $8,667.42
Bonuses, tips

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Fiif in this information to identify your case; mw1335

Debtor 1 Eugene G Tarver, Jr.

 

Debtor 2 Paige N'| Tarver
(Spouse, if ii|ing)

 

United States Bankruptcy Court for the: EASTERN D|STR|CT OF NEW YORK

 

Case number 8-18-77484 Check if this is:

lliknnwn) l An amended filing

l`_`| A supplement showing postpetition chapter
13 income as of the following date:

 

 

 

Ol:l:lClal Form 106| m
Schedu|e i: Your income izns

Be as complete and accurate as possibie. if two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filing joint|y, and your spouse is living with you, include information aboutyour
spouse. if you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed,
attach a separate sheet to this form. Ori the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Emp|oyment

1. Fi|i in your employment

 

 

 

 

information_ Debtor 1 Debtor 2 or non-filing spouse
if you have more than one job, - Emp|oyed . Emp|oyed
attach a separate page with Emp|°lime"t 513qu
information about additional ':' N°i employed m NOi Emp'°y€d
employers . .
OCCUPHUO" Program Nlanager F|orlst
include part-time, seasona|, or _ _
self-employed work. EmP|Oyel”'S name Curtls Wright Niedford F|orlst & Bouthue inc
gregg:q:t:;kn;ra¥f'RC;:%:esstudem Empl°yers address 1966 East Broadho||ow Road 151 Richmond Avenue
‘ ` Farmingda|e, NY 11735 Niedford, NY 11763
How long employed there? 4 months 10 years
Give Detaiis About Monthiy income

 

Estimate monthly income as of the date you file this form. if you have nothing to report for any |ine, write $0 in the space. include your non-filing
spouse unless you are separated

lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines beiow. lt you need
more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
- non-filing spouse ;

 

List monthly gross wages, saiary, and commissions (before all payroll

 

 

 

2- deductions). |f not paid mcnth|y, calculate what the monthly wage would be. 2- $ 11»767-14 $ 0'00
3. Estimate and list monthly overtime pay. 3. 'i'$ 0.00 +$ 0.00
4. calculate gross inoomo. Aoo line 2 + line 3. ' 4. 3 11 ,767.14 t 0.00

 

 

 

 

 

Oftioiai Form 1061 Schedule I: Your Income page l

Debtor 1

10.

CaS€ 8-18-77484-&8'[ DOC 8 Filed 11/13/18 Entel’ed 11/13/18 16213:34

Eugene G Tarver, Jr.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 2 Paige M Tarver Case number rrfl¢nowni 8-18-77434
For Debtor 1 For Debtor 2 or -
` non-filing spouse

Copy line 4 here 4. $ 11 ,767.14 $ 0.00
List all payroll deductions:
5e. Tax, lliledicare, and Social Security deductions 5a $ 3,222.03 ` $ 0.00
5b. Niandatory contributions for retirement plans 5b. $ 0.00 $ 0.00
50. Voluntary contributions for retirement plans Sc. $ 1,165.77 $ 0.00
5d. Required repayments of retirement fund loans 5d. $ 0.00 $ 0.00
5e. insurance 5€- $ 851 .59 $ 0.00
5f. Domestic support obligations 5f. $ 0_00 $ 0.00
5g. Union dues 59. $ 0.00 $ 0.00
5h. Other deductions. Specify: 5h.+ $ 0.00 $ 0.00
Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h. 6. $ 5,239,39 $ 0.00
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 6,527_75 $ 0.00
List ali other income regularly received:
8a. Net income from rental property and from operating a business,

professionl or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total

monthly net income. Ba. $ 0.00 $ 0.00
Sb. interest and dividends Bb. $ 0.00 $ 0.00
Bc. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

include alimony, spousal support child support, maintenance divorce

settlement and property settlementl BC. $ 0.00 $ 0.00
Bd. Unemp|oyment compensation Bd. $ 0_00 $ 0.00
Se. Social Security Se. $ 0.00 $ 0.00
Bf. Other government assistance that you regularly receive

include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benents under the Supplementai

Nutrition Assistance Program) or housing subsidies

Specify: Bf. $ 0.00 $ 0.00
8g. Pension or retirement income BQ. $ 0.00 $ 0.00
8h. Other month!y income. Specify: Family Suppgrf 8h.+ $ 0_00 $ 650.00
Aclcl all other income. Add lines 8a+8b+Bc+8d+Be+Bf+SQ+Bh. 9. $ 0_00 $ 650.00
Calculate monthly income. Adci line 7 + line 9, 10. $ 6,527.75 + $ 650.00 = $ 7,177.7’5

11.

12.

13.

Official Forrn 1061

Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse

State all other regular contributions to the expenses that you list in Scheduie J.

include contributions from an unmarried paltner, members of your household, your dependents, your roommates, and

other friends or refatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Scheo'ule J.
Specify:

 

 

 

 

 

 

 

 

11.

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly lncome.

\erte that amount on the Summary of Scheo'_uies and Statr'str'cai Surrimary of Certai'n Liabi'litr'es and Related Data, if it

applies

Do you expect an increase or decrease within the year after you file this form?

l
Ei

No.

 

 

 

+$ 0.00
$ 7,177.75
Combined

monthly income

 

Yes. Exp|ain: i

 

Schedule I: Your Income

page 2

 

 

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Fiii in this information to identify your case: mw1335
Debtor 1 Eugene G Tarver, Jr_ Check if this is:

- An amended filing
Debtor 2 paige M Tarver |:[ A supplement showing postpetition chapter
(Spouse, iffiiing) 13 expenses as of the following date:
United States Bankruptcy Court for the: EASTERN DiSTRiCT OF NEW YORK NiNi f DD /YYYY

 

Case number 8-18-77484
(if known)

 

 

Officiai Form 106J
Schedu|e J: Your Expenses tone

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Describe Your Househoid
1. is this a joint case?
l:l No. Go to line 2.
- Yes. Does Debtor 2 live in a separate househo|d?
l:l No
- Yes. Debtor 2 must file Ofiicia| Form 106.1-2, Expenses for Separate Househoid of Debtor 2.

 

2. Do you have dependents? l Ng

Do not list Debtor 1 and |;[ Yes. Fii| out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2, each dependent .............. tor1 Debtor 2 age i' ' yo 9

 
   

     

Do not state the
dependents names

 

 

 

 

 

3. Do your expenses include - No
expenses of people other than m
yourself and your dependents? YES

Estimate Your Ongoing Nionth|y Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report

expenses as of a date after the bankruptcy is filed. if this is a supplemental Scheduie J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule i': Your income 1 g
(Officiai Form 106|.) n ¥our experisse n

   

4. The rental or home ownership expenses for your residence. include first mortgage
payments and any rent for the ground or lot. 4. $ 1 ,933-01

 

if not included in line 4:

 

 

 

 

4a. Rea| estate taxes 4a. $ 0.00
4b. Property, homeowner’s, or renter's insurance 4b. $ 14.75
4c. Home maintenance repair, and upkeep expenses 4c. $ 0.00
4d. Homeowner’s association or condominium dues 4d. $ D.OO
5. Additional mortgage payments for your residence, such as horne equity loans 5. $ 0_00

 

Ochiai Form 106J Schedule J: ¥our Expenses page 1

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Debtor 1 Eugene G Tarver, Jr.

Debtor 2 Paige M Tarver Case number (if known) 8'18'77484
6. Uti|ities:

6a. Electricity, heatl natural gas 6a $ 190.00

6b. Water, sewer, garbage collection Eb. $ 0_00

Sc. Telepiionel cell phone, !nternet, satellite, and cable services Gc. $ 289.00

Gd. Other. Specify: Ed. $ 0.00
7. Food and housekeeping supplies 7. $ 450.00
8. Chiidcare and children’s education costs 8- $ 0.00
9. Clothing, iaundry, and dry cleaning 9. $ 50.00
1 O. Persona| care products and services 10. $ 25.00
11. iiiledical and dental expenses 11. 5 0.00
12. ortation. in iude as, maintenance, us ortrain fare.

B;a::tpinc|ude car §aymegnts. b 12- $ 315'00
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 40_00
14. Charitab|e contributions and religious donations 14. $ 0_00
15. lnsurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance 15a. $ 0.00

15b. Heaith insurance 15b. $ O.DO

15c. Vehicie insurance 150 $ 105.33

15d. Other insurance Specify: 15d. $ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: 16. $ 0.00
17. installment or lease payments:

17a. Car payments for Vehic|e 1 17a $ 0.00

17b. Car payments for Vehic|e 2 17b. $ 0.00

17c. Other. Specify: 170. $ 0.00

17d_ Other. Specify: 17d. $ 0.00
18. ¥our payments of alimony, maintenance, and support that you did not report as

deducted from your pay on line 5, Scheduie l, Vour!ncome {Official Form 1081). 13- $ 000
19. Other payments you make to support others who do not live with you. $ 0.00

Specify: 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Scheduie il: Vour income.

20a. iV|ortgages on other property 20a. 0.00

20b. Reai estate taxes 20b. $ 0.00

20c. Propertyl homeowner’s, or renter's insurance 200 $ 0.00

20d. ivlaintenance, repairl and upkeep expenses 20d. $ 0.00

20e. Homeowner’s association or condominium dues 20e. $ 0.00
21. Other: Specify: 21. +$ 0.00
22. Calculate your monthly expenses

22a. Add lines 4 through 21. $ 3,462.09

22b. Copy line 22 (montniy expenses for Debtor 2), if any, from Ofticial Form 106J-2 $ 3,936.00

220. Add line 22a and 22b. The result is your monthly expensesl $ ?,398.09
23. Calculate your monthly net income.

23a Copy line 12 (your combined monthly income) from Scheduie i. 23a. $ 7,177.75

23b. Copy your monthly expenses from line 22c above. 23b. -$ 7,398.09

230. Subtract your monthly expenses from your monthly income.

The result is your monthly net income 239 $ '220'34

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For exampie, do you expect io finish paying ioryour car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the terms of your mortgage'?

l No.

|:i Yes_ l Explain here: l
Ofticial Form 106J Scheduie J: Your Expenses page 2

 

Ent€i’ed 11/13/18 16213:34

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Fii| in this information to identify your case: mw1335
Debtor1 Eugene G Tarver, Jr.
First Name Middle Name Last Name

Debtor 2 Paige M Tarver

(Spouse if. t`l|in|) Firsi Name Middie Name Last Name

 

United States Bankruptcy Court for the: EASTERN DlSTRlCT OF NEW YORK

 

Case number 8-13-77434

(if known)

 

l Check if this is an
amended filing

 

 

Officiai Form 107
Statement of Financial Affairs for individuals Fi|ing for Bankruptcy ute

 

Be as complete and accurate as possible if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Detai|s About Your lliiaritai Status and Where ¥ou Lived Before

1. What is your current marital status?

- ii.iiarried
l:l Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

l:l No
l Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor1 Prior Address: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

151 Richmond Avenue From'To: - Same as Debtor1 - Same as Debtor 1

Nledford, NY 11763 1998-10116 From_.|_o:

 

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Communl'ty property
states and territories include Arizona, Cailfornia, ldaho, Louisiana, Nevada, New i\)lexico, Puerto Rico, Texas, Washington and Wisconsin.)

- No
l:l Yes. iiiiake sure you fill out Scheduie H: Your Codebtors (Offlciai Form 106H).

m Explain the Sources of Your income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fi|i in the total amount of income you received from all jobs and all businesses, including part-time activities
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

l:l No
l Yes. Fill in the details

Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply (before deductions
exciusions) and exclusions)
Ofi'iciai Form 107 Statement of Financiai Affairs for individuals Fi|ing for Bankruptcy page 1

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Case 8-18-77484-ast

Debtor1 Eugene G Tarver, Jr.
Debtor 2 Paige M Tarver

DOC 8

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Case number tirknown)

 

From January 1 of current year until
the date you filed for bankruptcy:

Debtor1

Sources of income
Check ali that app|yi

- Wages, commissions,
bonuses,ups

l:l Operating a business

Gross income
(before deductions and
exclusions)

$80,896.00

8-1 8-77484

 

Debtor 2

Sources of income
Check all that apply.

- Wagesl commissionsl
bonuses, tips

l__.l Operating a business

Gross income
(before deductions
and exclusions)

$8,667.42

 

For last calendar year:

(Jarluary 1 to December 31, 2017 )

- Wages, commissionsl
bonuses, tips

l:l Operating a business

$121,847.00

l Wages, commissions
bonuses, tips

l:l Operating a business

$11,070.00

 

For the calendar year before that:
(January 1 to December 31, 2016 )

- Wages, commissionsl
bonuses, tips

l:l Operating a business

$97,644.00

- Wages, commissionsl
bonuses, tips

|:l Operating a business

$0.00

 

Did you receive any other income during this year or the two previous calendar years?

include income regardless of whether that income is taxable Examp|es of other income are alimony; child support; Social Security, unemployment
and other public benefit payments: pensions; rental income; interest; dividends; money collected from iawsuits; royalties; and gambling and lottery
winnings. if you are filing a joint case and you have income that you received togetherl list it only once under Debtor 1.

List each source and the gross income from each source separately Do not include income that you listed in line 4.

- No
l:l Yes. Fi|i in the details

Debtor 1 Debtor 2

Sources of income
Describe below.

Gross income from
each source
(before deductions and

Sources of income
Describe below.

Gross income
(before deductions
and exclusions)

exclusions)

List Certain Payments You lliiade Before You Fiied for Bankruptcy

 

6. Are either Debtor1’s or Debtor 2’s debts primarily consumer debts?

l:l No. Neither Debtor1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a persona|, fami|y, or household purpose."

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
l:-l No. Go to line 7.

l-_~l Yes List below each creditor to Whom you paid a total of $6.425" or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and ailmony. ivilsol do
not include payments to an attorney for this bankruptcy case

* Subject to adjustment on 4i01i'19 and every 3 years after that for cases filed on or after the date of adjustment

- Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you died for bankruptcy, did you pay any creditor a total of $600 or more?

l No. Goto line 7.

l:l Yes i_ist below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligationsl such as child support and alimony. Aisol do not inciude payments to an

attorney for this bankruptcy case

Creditor's Name and Address Dates of payment Totai amount Amount you Was this payment for
paid still owe
Ofticial Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 2

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Debtor1 Eugene G Tarver, Jr.
Debtor 2 paige M Tarver Case number irritnown) 8~18-77434

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer, directorl person in contro|, or owner of 20% or more of their voting securities; and any managing agent including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations, such as child support and

alimony.

- No

i:i Yes. List ali payments to an insider.

lnsider's Name and Address Dates of payment Tota| amount Amount you Reason for this payment
paid still owe

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?

include payments on debts guaranteed or cosigned by an insider.

- No

i:i Yes. List all payments to an insider

insider's Name and Address Dates of payment Totai amount Amount you Reason for this payment
paid still owe include creditor's name

identify Legai Actionsl Repossessions, and Foreciosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such mattersl including personal injury casesl small claims actions, divorces, collection suits, paternity actions, support or custody
modincations. and contract disputes

i:i No
l Yee_ l=ill in the details

Case title Nature of the case Court or agency Status of the case
Case number
Bank of America v. Paige Tarver consumer credit Fourth District Suffoik l:l Pending
CV 052118I1TSN'I l:i On appeal
l concluded

Judgment 3[19.|'18 $2809.37

Bank of America v. Eugene Tarver consumer credit Supreme Suffoik i:l Pendlng
161619895 i:i On appeal
- Concluded

Jugment 7i5.i17 $22,631.83

 

 

 

Cavalry SPV |l LLC v. Eugene consumer credit First District Suffoik l pending
Tarver m
O i
cv 000479-1sicl= n C:n:’|°:§:d
Commissioner of Tax & Finance v. Tax Warrant l:i Pending
Eugene Tarver l:i On appeal
E040412630W0054 - Concluded
Judgment 3121[18 $875.95
Discover Bank v. Paige Tarver consumer credit Sixth District Suffoik i:i Pending
CV 000721!17BR i:i On appeal
l Concluded
Judgment 4I12i18
$3,352.78
Ofticial Form 107 Statement of Financiai Affairs for individuals Fi|ing for Bankruptcy page 3

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Debtor1 Eugene G Tarver, Jr.

 

 

 

 

 

Debtor 2 Pai ne nn Tarver Case number (irirnowni 8-'| 3'77434
Case title Nature of the case Court or agency Status of the case
Case number
Nationstar |liiortgage LLC v. Mortgage Supreme Suffoik l Penciing
Debtors Forec|osure |:| l
serrano o §§ii‘i§§§d
Eugene Tarver v. Paige Tarver matrimonial Supreme Suffoik l Pendlng
16!07433 i:i On appeal

l:i Concluded
Portfo|io Recovery Associates LLC consumer credit 2nd District Suffoik l pending
v. Paige Tarver iii On a
ppea|
000600-17IBA i:i Concluded
Midland Funding LLC v. Eugene consumer credit First District Suffoik l pending
Tarver i:l
On appeal
006636/18[CE i:i Concluded

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or ievied?
Check ali that apply and fill in the details beiow.

i:i No. Go to line 11.
l Yes. Fill in the information oelow.

Creditor Name and Address Describe the Property Date Value of the
iJ"'~'>P\`="'tll

Explain what happened
Bank of America Business checking #3930 9i'18 $2,500.00

Niedford, NY 11763
i:i Property was repossessed
i:i Property was foreclosed
i__.i Property was garnished.

l Property was attached, seized or |evied.

 

11. Within 90 days before you filed for bankruptcy, did any creditorl including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

- No
i:i ¥es. Fiii irl the detai|s.
Creditor Name and Address Describe the action the creditor took Date action was Amount

taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another officiai?

l No
i:i Yes

Ofticial Form 107 Statement of Financiai Affairs for individuals Fi|ing for Bankruptcy page 4

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Debtor1 Eugene G Tarver, Jr.
Debt0r2 Paige iiil Tarver

m List certain cite and contributions

Case number (iritnown) 8-18-77484

 

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

l No
l:l Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts

per person

Person to Whom You Gave the Gift and
Address:

14.
- No

|:l Yes. Fil| in the details for each gift or contributionl

Gif'ts or contributions to charities that total Describe what you contributed

more than $600
Charity's Name

Address (Number, street, city. state and zlP code)

List Certain Losses

Dates you gave Va|ue
the gifts

Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

Dates you _ Va|ue
contributed

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,

or gambling?

- No

i:i Yes. Fi|| in the details _

Describe the property you lost and Describe any insurance coverage for the loss Date of your Va|ue of property
how the loss Och"ed lnc|ude the amount that insurance has paid. List pending loss lost

insurance claims on line 33 of Scheduie A/B: Property.

List Certain Payments or Transfers

16.

Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

i:\ No

l Yes. Fiii in the details

Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment
Email or website address made

Person Who l\ilade the Payment, if Not You

Michael E. Walter $500.00 7125!18 $1`,700.00
407 East Main Street $800.00 Bi31l18

Port Jefferson, NY 11777 $400.00 1011 6i18

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?

Do not include any payment or transfer that you listed on line 16.

l No
m Yes. Fi|| in the detai|s.
Person Who Was Paid

Description and value of any property Date payment Amount of

Address transferred or transfer was payment
made

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Debtor1 Eugene G Tarver, Jr.

DebtorZ Paige M Tarver Case number (irtrnewn) 8-18-77484

 

18. Within 2 years before you filed for bankruptcy, did you se|l, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement

l No
i:.i YSS. Fiii il'i the details

Person Who Received Transfer

Description and value of
Address

Describe any property or Date transfer was
property transferred

payments received or debts made

paid in exchange
Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset-protection devices.)

- No
I:l Yes. Fi|| in the details.

Name of trust Description and value of the property transferred Date Transfer was

made

List of certain Financiai Aeeeunte, inetrumente, safe Depeeit sexes, and storage units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?

include checkingl savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperativesl associations, and other financial institutions.

- No
El ves.Filiinthedetaiis.

Name of Financiai institution and Last 4 digits of Type of account or Date account was Last balance

Address tnunruer, street, city, state and zip account number instrument closed, sold, before closing or
C°d@} moved, or transfer
transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,

cash, or other valuables?
- No
El Yee. Fiii in the detaiis.

Name of Financiai institution

Who else had access to it? Describe the contents Do you still
Address tNurnber, street, city, state and ZiP code}

Address {Nurnber. street, city, have it?
State and ZlP Code}

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
- No
El Yee. Fiii in the deteiie.

Name of Storage Facility Who else has or had access
Address (Numtrer, street city. state and ziP cede) to it?

Address (Nurnher, street, city,
State and ZlP Code}

m identify Property You Hold or Control for Someone Else

Describe the contents Do you still

have it?

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for, or hold in trust
for someone.

m No
l Yee. Fiii inthe detaiie.

Owner's Name Where is the property? Describe the property Va|ue

Addl"ESS (Number, Street, City, State and ZlP Coda)

(Number, Sireet, Clty, State and ZlP

 

Codel l
Daughter TD Bank Savings acct $2,000.00
151 Richmond Bivd Portion Road
Medford, N‘( 11763 Farmingville, NY
Ofiiciai Form 107 Statement of Financiai Affairs for individuals Fi|ing for Bankruptcy page 6

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Debtor1 Eugene G Tarver, Jr.
Debtor 2 Paige i\il Tarver Case number (irirnewn) 8-18-77454

 

Part 101 Give Detaiis About Environmental information

For the purpose of Part 10, the following definitions apply:

- Envi'ronmental' law means any federall state, or local statute or regulation concerning poi|ution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, land, soii, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or materia|.

Site means any iocation, facility, or property as defined under any environmentai lawl whether you now own, operate, or utilize it or used
to own, operate, or utilize itr including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous materiai, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.
24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

l No
El Yee. Fiii in the detaiis.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Ni.rmber, street city, state and zlP ceda) Address (Numher, Street city. state end know it
ziP cede)

25. Have you notified any governmental unit of any release of hazardous material?

- No

iZl Yes. Fiii in the detaiie.

Name of site Governmental unit Environmentai iaw, if you Date of notice
Address (Number, street city, state and zip cede} Address (Nurnber. street city, state and know it

ziP cede)
26. Have you been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders.

- No
El Yes. Fiii in the detaiie.

Case Title Court or agency Nature of the case Status of the
Case Number Name case

Address (Number, street city,
state and ziP cede)
Give Detaiis About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
l:i A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
i:i A member of a limited liability company (LLC) or limited liability partnership (LLP)
l:i A partner in a partnership
- An officer, directorl or managing executive of a corporation
l:l An owner of at least 5% of the voting or equity securities of a corporation

|:l No. None of the above applies. Go to Part 1 2.

- Yes. Check ali that apply above and fill in the details below for each business.

 

Business Name Describe the nature of the business Employer identification number
Address Do not include Social Security number or iTiN.
‘Nl.|mber, StfeEf, City, Si££i.i.E and ZlP Code) Name of accountant or bookkeeper
Dates business existed
liiiedford Florist & Boutique inc Florist and Boutique E|N= 2281
2510 Route 112
liiiedford, NY 11763 Harold Dieters CPA Fl’°m“T° 2009-present
Officia| Form 107 Statement of Financiai Affairs for individuals Fi|ing for Bankruptcy page 7

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Debtor1 Eugene G Tarver, Jr.

Dahier2 Paige M Tarver .Case number wanting B»18-'i'7484

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include ali |inanciai
lnstituiions, oratiitors, or other partles.

 

 

 

 

 

l iiio
l:i Yes. Flll in the details belew.
Name Date issued
Address
tiltmllrer. street city. slate erie zlr cedar
W Sign Below
l have read the answers on this Statement of Financiai Afrairs and any attachments and i declare under penalty of plrjuty that the answers
ara t_nla and correct l understand that making a false statement concealing property. or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up tai t risomnent for up to 20 years, or hotl'l.
18 U.a.¢. §§ a 41 1 . g
Eugene G Tarver, Jr. Paige lir'i Tarver
Signature of Debtor 1 S|gnature of leilor 2
van ill/glier pete lr!rB/ij/
Did you attach additional pages to Your Statement ofFinanciei Affaira farindividuais Fi!ing for Bankruptcy iOfficial Form 107)?
l No
|:l Yes
Did you nay or agree to pay someone who is not an attorney to help you fill out bankruptcy fonns?
l No
El Yes. Name of Person . Aitach the Bankruptcy Pstl'iion Frepare#s Naii'ca, Deciaretiorl, and Signattlra (Ofiicial Forrrl 119).
Ofiiclal Form 101

Statement of Flna nclli Afftu"rs for individuals Fi|ing for Bankruptcy

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